UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA
                                                              MEMORANDUM & ORDER
                                                              98-CR-1101 (ILG)
        v.

FELIX SATER,

                           Defendant.
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GLASSER, Senior United States District Judge:

        Members of the press and public have brought multiple motions to unseal records in this

case. (Letter from Johnny Dwyer, Feb. 15, 2019, ECF No. 247; Letter from C. Collins, Mar. 4,

2019, ECF No. 249; Notice of Motion to Intervene and Unseal from First Look Media Works,

Inc., Mar. 25, 2019, ECF No. 252-1; Letter from Brian Vodicka, Apr. 2, 2019, ECF No. 267;

Letter from Brandon Skwira, Apr. 13, 2019, ECF No. 265; Letter from Clifton Livingston, Apr.

13, 2019, ECF No. 266). As of this date, those motions remain pending.

        On July 12, 2019, the Court received a request from attorney Frederick M. Oberlander,

who “represent[s] … clients who have not appeared here … but would like to be heard briefly on

the matter of unsealing.” (ECF No. 283). Oberlander’s storied involvement in this case and other

proceedings related to Sater, both as a non-party respondent (in this matter) and as an attorney of

record (in closely related matters), is well-known to the parties and need not be retold here.

Oberlander sought permission to file, by July 17, 2019, a motion on behalf of his clients for

“leave for them to intervene so that they might be heard.” (Id. at 1). 1 On July 15, 2019, he filed a




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  It appears that Mr. Oberlander construed this Court’s order of July 3, 2019 that “[a]ny further
submissions are to be made not later than 10 days from today” as applying to proposed
intervenors. (ECF No. 281). The July 3, 2019 order was directed solely to Sater and the
Government.


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13-page document entitled, “Statement of Natural Persons or Post-Mortem Estates Ervin Tausky,

Ernest Gottdiener, and Judit Gottdiener In Support of Pending Motion(s) to Unseal and Notice of

Appearance.” (ECF No. 284). A “Corrected” version of the same document was filed the

following day, together with 74 pages of exhibits. (ECF No. 287). The document is, generally, a

commentary on the pending unsealing motions, the lawfulness of Sater’s underlying sentence,

and Sater’s relationship with President Donald J. Trump.

       Oberlander concedes on the first page of this document that his clients request “no Article

III relief” (ECF No. 287-1 at 1). This alone renders his submission a legal nullity. He and his

clients, the Gottdieners, make no formal motion for the unsealing of any document, but merely

seek to add their voice to the unsealing motions brought by others and currently pending.

Furthermore, even a perfunctory reading of Oberlander’s extensive submissions will reveal that

their true purpose is not to litigate the law of sealing or contribute meaningfully to the resolution

of the motions pending determination, but a thinly-veiled desire to place in the public record,

through the medium of these proceedings, an exegesis of unrelated matters.

       If the filing is construed as a motion to intervene, it is denied. Although motions to

enforce a common law or constitutional right of access to judicial documents are styled as

motions to “intervene,” this kind of intervention is a very different creature from the

“intervention” contemplated by Federal Rule of Civil Procedure 24. Indeed, motions to intervene

based on a right of access may be brought in either civil or criminal cases, even though the

Federal Rules of Criminal Procedure contain no provision authorizing intervention. See United

States v. Aref, 533 F.3d 72, 81 (2d Cir. 2008). Nevertheless, although a motion to intervene in

these proceedings would not be governed by Rule 24, the considerations that underlie its

distinction between intervention of right and permissive intervention would appear to apply.




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Under Rule 24(a)(2), the court “must” permit one to intervene who “claims an interest relating to

the property or transaction that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to protect its interest,

unless existing parties adequately represent that interest.” (emphasis added). Where other parties

“adequately represent” the proposed intervenor’s interests, intervention is permissive. See Fed.

R. Civ. P. 24(b). Here, the “interest” sought to be vindicated, namely, the constitutional and

common law right of access to judicial documents that the Gottdieners enjoy as members of the

public, is already being adequately represented by those who have brought the pending motions.

Intervention would be cumulative and unnecessary to “give[] full protection of the asserted

right,” In re Associated Press, 162 F.3d 503, 507 (7th Cir. 1998), and is therefore denied.

         SO ORDERED.

Dated:         Brooklyn, New York
               July 17, 2019
                                                       /s
                                                       I. Leo Glasser                         U.S.D.J.




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